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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF VIRGINIA
                                Alexandria Division

 XIAOMEI CHEN,                                          )
   Plaintiff,                                           )
                                                       )
                  v.                                   )            Case No. l:18cv794
                                                       )
 LIN BING JUN, et al.,                                 )
      Defendants.                                      )
                                                       )
                                                       )
                                                       )


                                                   ORDER

        On October 3 I, 2018, United States Magistrate Judge Theresa Carroll Buchan an

entered a Report and Recommendation ("Report") in this Anti.Cybersquatting Consumer

Protection Act case, recommending that plaintifl's motion for default judgment be granted.

Specifically, Judge Buchanan recommends that judgment be entered against defendants

and that the subject domain names be transferred back to plaintiff

        Upon consideration of the record and Judge Buchanan's thorough Report, to which

no objections have been filed, and having found no clear en·or, 1

        The Court ADOPTS, as its own, the findings of face and recommendations of the

United States Magistrate Judge, as set forth in the Report (Doc. I 3 ).



'See Diamond v. Colonial Life & Acc. Ins. Co., 416 f.3d 3 IO. 315 (4th Cir. 2005) (in the absence of any
objections to a magistrate's report, !he court "need not conduct a de novo review, but instead must 'only
satisfy itself that there is no clear error on the face of the record in order to accept the recommendation.''').
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      Accordingly,

      It is hereby ORDERE.D that plaintiff's motion for default judgment (Doc. 9) is

GRANTED as to plaintiff's Anti-Cybcrsquaning Consumer Protection Act claims. All of

plaintiff's remaining claims arc DISMISSED WITHOUT PREJUDICE.

      It is further ORDERED that the domains. 789365.com, 402013.eom, 402014.eom,

402015.com, and vip999365.eom shall be transferred to plaintiff at the GoDaddy account

with customer number 186916158 with the email address exm20l8gd@l63.com on the

account.

      Counsel for plaintiff shall provide a copy of this Order to defendants at their last

known address.

      The Clerk is further directed to provide a copy of this Order to all counsel ofrecord,

and to place this matter among the ended causes.



Alexandria, Virginia                            T. S. Ellis, 1ll
November 16, 2018                               United States D · trict Judge




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